        Case 2:14-cv-00056-TMP Document 53 Filed 11/30/15 Page 1 of 5                       FILED
                                                                                   2015 Nov-30 PM 04:09
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

ADTRAV CORPORATION,                      )
                                         )
           Plaintiff,                    )
                                         )
              vs.                        )           Case No. 2:14-cv-056-TMP
                                         )
 DULUTH TRAVEL, INC.,                    )
                                         )
         Defendant.                      )


               ORDER REGARDING DISCOVERY MOTIONS
                 AND REVISED SCHEDULING ORDER

     Currently pending before the Court are ADTRAV Corporation’s Motion for
Leave to Permit Additional Discovery and Duluth Travel, Inc.’s, Motion to
Compel.

      The Court conducted a Status Conference and hearing on these discovery
motions on November 13, 2015, and was advised by counsel for the Parties that
they had reached agreement on a number of the disputes contained within their
respective Motions. The parties have agreed to the provisions set forth below in
sections I and II.

               I.       ADTRAV’s Motion for Additional Discovery

      Duluth Travel shall produce to ADTRAV the following information within
14 days from the entry of this Order:

      1.     Redacted agreement between Duluth Travel and Concur. Such
redaction shall include, but not necessarily be limited to, any and all confidential or
proprietary information, including pricing, partnering, marketing information or
any other information which could disadvantage Duluth Travel from a

                                    1
         Case 2:14-cv-00056-TMP Document 53 Filed 11/30/15 Page 2 of 5



competiveness standpoint. If ADTRAV is dissatisfied with the redactions, the
parties will seek an in camera inspection by the Court. Any and all agreements
provided will be subject to the confidentiality and protective order entered by this
Court.

       2.    Redacted agreement between Duluth Travel and Travel Incorporated.
Such redaction shall include, but not necessarily be limited to, any and all
confidential or proprietary information, including pricing, partnering, marketing
information or any other information which could disadvantage Duluth Travel
from a competiveness standpoint. If ADTRAV is dissatisfied with the redactions,
the parties will seek an in camera inspection by the Court. Any and all agreements
provided will be subject to the confidentiality and protective order entered by this
Court.

       3.    Revenues generated by the VA business and earned by the parties
under Duluth Travel’s contract with the VA after October 1, 2013, through
December 31, 2014, but only to the extent that such income was generated during
the time that Duluth Travel and ADTRAV were still doing business together (i.e.,
revenues that were earned during the period of the agreement between the Parties,
but paid after the agreement’s termination). 1

              II.     Duluth Travel’s Motion to Compel

      ADTRAV shall produce to Duluth Travel the following information within
14 days from the entry of this Order (unless otherwise stated):

      1.     ADTRAV shall provide all Individually Billed Account (IBA) and
Centrally Billed Account (CBA) reports for any Veterans Administration business
from January 1, 2007, through December 31, 2014, to the extent available.
ADTRAV agrees that, to the extent there are any missing reports, the electronic
search of ADTRAV’s databases will include a search for those missing reports.

      2.     ADTRAV shall provide copies of the following six (6) government
contracts identified by ADTRAV in its interrogatory responses:

              a.      2007 contract between ADTRAV and the Department of
                      Commerce;
1
 The Court recognizes that the parties disagree as to the date that their agreement
was terminated.
                                        2
        Case 2:14-cv-00056-TMP Document 53 Filed 11/30/15 Page 3 of 5



            b.     2008 contract between ADTRAV and the Corporation for
                   National and Community Service;

            c.     2009 contract between ADTRAV and the Defense Nuclear
                   Facilities Safety Board;

            d.     2009 contract between ADTRAV and the General Services
                   Administration;

            e.     2009 contract between ADTRAV and Pension Benefit
                   Guaranty Corporation; and

            f.     2011 contract between ADTRAV and the National Endowment
                   of the Arts.

      Along with the production of the contracts, ADTRAV shall provide to
Duluth Travel total revenues generated by each of the six (6) contracts identified.

       Any and all agreements and revenue information provided by either party
will be subject to the confidentiality and protective order entered by this Court.

       3.   ADTRAV shall provide to Duluth Travel Authorizations to Release
Payment Records from Third-Party Vendors in the forms attached herein, properly
executed by ADTRAV and notarized, in order for Duluth Travel to obtain third-
party payments as identified in Duluth Travel’s previously served subpoenas.

      4.     ADTRAV shall provide to Duluth Travel an Authorization to Release
Third-Party Agreements directly to ADTRAV in the form attached herein, properly
executed by ADTRAV and notarized, in order for Duluth Travel to obtain third-
party agreements identified in Duluth Travel’s previously served subpoenas.
However, this authorization will be limited and require third-parties to deliver the
agreements directly to ADTRAV, not Duluth Travel. ADTRAV will make
redactions to the agreements as set forth herein and then supply the agreements to
Duluth Travel. Within 14 days of any third-party agreements submitted to
ADTRAV pursuant to ADTRAV’s authorization, ADTRAV shall provide redacted
agreements to Duluth Travel. Such redaction shall include, but not necessarily be
limited to, any and all confidential or proprietary information, including pricing,
partnering, marketing information or any other information which could
disadvantage ADTRAV from a competiveness standpoint. Any and all agreements

                                   3
        Case 2:14-cv-00056-TMP Document 53 Filed 11/30/15 Page 4 of 5



provided will be subject to the confidentiality and protective order entered by this
Court. If Duluth is dissatisfied with the redactions, the parties will seek an in
camera inspection by the Court.

       In addition to the matters upon which the parties reached an agreement, as
set forth above, some discovery matters remained in dispute, as were outlined in
the joint status report filed November 20, 2015. (Doc. 48). The discovery disputes
were set for hearing on November 30, 2015. Having considered the motions, the
responses, and the arguments of counsel, the court finds as set forth below in
Sections III, IV, and V.

                 III.   ELECTRONICALLY STORED INFORMATION

      ADTRAV and Duluth have agreed to a serach of ADTRAV’s Electronically
Stored Information (“ESI”), but were unable to reach an agreement about how that
search shall be performed. The court finds that Duluth’s desire to have an
independent third-party conduct the search is unwarranted at this time. In keeping
with the dictate of the Eleventh Circuit Court of Appeals, a party is not due to be
given “unrestricted, direct access” to the opponent’s database. In re Ford Motor
Co., 345 F.3d at 1316-17 (11th Cir. 2003).

       Accordingly, Duluth is directed, within 7 days, to provide to ADTRAV a list
of keywords to be used in a keyword-search of all ESI at issue in this case. The
search will be conducted by or at the direction of ADTRAV, and all responsive
documents which pertain to the contract with the Veterans Administration at issue
here, shall be produced to Duluth within 14 days after the keywords are provided.

                 IV.    INDIVIDUALLY-HELD OPERATING ACCOUNTS

      Both parties are directed to produce, within 20 days, a list of all individually-
held bank accounts into which any revenue derived from the VA contract at issue
was deposited. The parties shall provide: (1) the date of any such deposit, (2) the
amount of the deposit, (3) the payor, (4) the account number, and (5) the bank
name. No subpoenas shall be issued to any bank or in connection with any such
account without first seeking and receiving court approval.




                                     4
        Case 2:14-cv-00056-TMP Document 53 Filed 11/30/15 Page 5 of 5



                V.     REVISED SCHEDULING ORDER

     Based on agreement between the Parties and the Court’s consideration, the
Scheduling Order is revised to reflect the following new pretrial dates:

      1.    Expert Depositions:       The Parties have exchanged expert reports.
Accordingly, the Court directs that expert depositions be completed on or before
January 13, 2016. The Court has been advised that the deposition of Duluth
Travel’s expert has already been scheduled for December 18, 2015, beginning at
10:30 a.m. EST, in Atlanta, Georgia.

       2.     Dispositive Motions: All potentially dispositive motions must be
filed on or before February 1, 2016, and should be accompanied by supporting
briefs and all evidentiary material in support thereof.

     3.    The Court anticipates that a pretrial conference will be scheduled after
May 1, 2016.

       4.    Final lists: The court will establish deadlines for the exchange of
final witness and exhibit lists at the pretrial conference.

      5.    Trial: The parties shall be ready for trial to be scheduled on or after
June 1, 2016. Trial will be set by separate order.

      In accordance with the provisions set forth herein, the Motion to Compel
(doc. 44) is GRANTED IN PART AND DENIED IN PART, and the Motion for
Leave to Permit Additional Discovery (doc. 37) is GRANTED IN PART AND
DENIED IN PART.

      DONE and ORDERED on November 30, 2015.



                                       __________________________
                                       T. MICHAEL PUTNAM
                                       U.S. MAGISTRATE JUDGE




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